Case 24-10306-CMG          Doc 22-7 Filed 06/13/24 Entered 06/13/24 19:38:21       Desc
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with
 D.N.J.LBR 9004-1

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 Mortgage Servicing as servicer for Citibank,
 N.A. not in its individual capacity but solely as
                                                     Chapter 13
 Owner Trustee of New Residential Mortgage
 Loan Trust 2019-RPL3
                                                     Case No. 24-10306-CMG
 In re:                                              Hearing Date: July 17, 2024
Theodore R. Thomas
Michelle L. Thomas                                   Judge Christine M. Gravelle
                                   Debtors.

                      ORDER GRANTING MOTION FOR
                    RELIEF FROM THE AUTOMATIC STAY

      The relief set forth on the following page is hereby ORDERED.
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        Upon the motion of NewRez LLC d/b/a Shellpoint Mortgage Servicing as servicer for
Citibank, N.A. not in its individual capacity but solely as Owner Trustee of New Residential
Mortgage Loan Trust 2019-RPL3 (“movant”) under Bankruptcy Code section 362(d) for relief
from the automatic stay as to certain property as hereinafter set forth, and for cause shown, it is

        ORDERED that the motion is granted, and the automatic stay is vacated to permit the
movant to institute or resume and prosecute to conclusion one or more actions in the court(s) of
appropriate jurisdiction to pursue the movant’s rights in the following:

     X Real property more fully described as:

        16 Laurie Way, Burlington Township, NJ 08016

        It is further ORDERED that the movant, its successors or assignees, may proceed with its
rights and remedies under the terms of the subject mortgage and pursue its state court remedies
including, but not limited to, taking the property to sheriff’s sale, in addition to potentially pursuing
other loss mitigation alternatives, including, but not limited to, a loan modification, short sale or
deed-in-lieu foreclosure.     Additionally, any purchaser of the property at sheriff’s sale (or
purchaser’s assignee) may take any legal action for enforcement of its right to possession of the
property.

         It is further ORDERED that the movant may join the debtor and any trustee appointed in
 this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
 Bankruptcy Code.

         It is further ORDERED that the movant shall be permitted to reasonably communicate
 with Debtor(s) and Debtor(s)’ counsel to the extent necessary to comply with applicable non-
 bankruptcy law.

         It is further ORDERED that the Trustee is directed to cease making any further
 distributions to the Creditor.

         The movant shall serve this order on the debtor, any trustee and any other party who
 entered an appearance on the motion.
